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       United States Court of Appeals
            for the Fifth Circuit
                          ___________

                           No. 21-60626
                          ___________

Alliance for Fair Board Recruitment; National Center
for Public Policy Research,

                                                                Petitioners,

                                 versus

Securities and Exchange Commission,

                                                               Respondent.
              ______________________________

               Petition for Review from an Order of the
                     Securities & Exchange Comm
                         Agency No. 34-92590
              ______________________________

ORDER:
      IT IS ORDERED that Respondent’s unopposed motion for an
extension of 7 days, or, to and including April 29, 2024 to file the
supplemental brief is GRANTED.




                                 ___________________________
                                 Priscilla Richman
                                 United States Circuit Judge
